Case 1:07-cv-02844-WMN Document 143 Filed 09/27/18 Page 1 of 2
DISTRICT COURT OF MARYLAND FOR United States District Court, MD

City/County
+. Located at 101 West Lombard Street, Baltimore, MD 21201 Case No. 1:07-CV-2844-WMN
~ Court Address
Kennard Warfield, Jr. et al. Edward Primoff, et al.
Name Name
14451 Triadelphia Road vs. 7201 Old Washington Road
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PO Box 1489 Lumberton NC 28359 CLESK US DISTRICT COUR?
Address DISTRICT CF MARYLAND
BY BEPUTY

GARNISHEE'S CONFESSION OF ASSETS OF PROPERTY OTHER THAN WAGES
{Rule 3-645 and 3-645.1)

THE GARNISHEE reports that assets (other than wages and protected amounts under 31 C.F.R. Part 212) belonging to the
Defendant, as of the _2/8t_ day of _SePt.__, 2018 , the date upon which the attachment in this case was served,
are being held by the garnishee and consist of the following:

No assets of any defendant held.

[1 Savings account (number, name and amount)

Name $
LJ The account includes a protected amount.
# Name §
L_] The account includes a protected amount.
Name $

LJ The account includes a protected amount.
CO Checking account (number, name and amount)

Name $
LJ The account includes a protected amount.
# Name $
LJ The account includes a protected amount.
Name $

LJ} The account includes a protected amount.
(1 Other debts due any defendant or any other property belonging to any defendant (name, nature and value)

Name Nature $
Name Nature $
Name Nature $
Name Nature $

(If additional space is needed, attach sheet.)
LC The property held by the garnishee consists of only of a protected amount pursuant to 31 C.F.R. Part 212 and the

garnishee requests a judgment in favor of the garnishee terminating the garnishment.
t

9/21/2018 LE
Date ¥ Signature of Gamishee/Attormey/Attorney 1.D.
910 272 4247 Becky Howell
Signer's Telephone Number Printed Name
910 272 2725 PO Box 1489 Lumberton NC 28359
Signer's Facsimile Number, if any Signer's E-mail Address, if any Signer's Address

I HEREBY CERTIFY that I mailed or delivered a copy of this document to the Plaintiff or Attorney for Plaintiff
and to the Defendant or Attorney for the Defendant.

9/21/2018
Date Signatdre of Gamishee or Attorney Attomey ID.

DC/CV 61 (Rev. 7/2011)

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Branch Banking and Trust Gompany
Wilson Deposit Gompliance Operations
PO Box 1349

Wilson, NG 27893

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